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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SAFE SKIES CLEAN WATER                              )
      WISCONSIN, INC.,                              )
                                                    )
       Plaintiff,                                   )
                                                    )
               v.                                   )        Case 1:21-cv-00634-CKK
                                                    )
UNITED STATES AIR FORCE, et al.,                    )
                                                    )
       Defendants.                                  )


                          DECLARATION OF TEHMINA ISLAM

I, Tehmina Islam, hereby declare:

1.     I reside at 2809 Commercial Avenue in Madison, Wisconsin.

2.     I have lived at this location since September 2015.

3.     I have lived in Madison since 1994, however on the eastside where Truax Field is

located, since 2006.

4.     I am currently employed as a Certified Professional Midwife (CPM) and Wisconsin

Licensed Midwife (LM) at Access Midwifery, LLC, a business I own. I have attended over 350

births, including those in the neighborhoods impacted by the noise and other pollution from

Dane County Airport and Truax Field.

5.     I have personal knowledge of the following matters.

6.     I am a supporter of Safe Skies Clean Water Wisconsin, Inc., (“Safe Skies”), and consider

myself a member.

7.     I joined Safe Skies in 2020 when meeting with other with other members and residents

concerned about existing and proposed noise from fighter jet training and contamination of our




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groundwater and lakes with PFAS released from the Dane County Regional Airport and Air

National Guard.

8.     Since joining Safe Skies, I have participated in in-person and Zoom video meetings, our

email discussion list, and public activities including: February 15, 2020 Birthday Bash Protest at

the birthday celebration for Senator Tammy Baldwin; February 29, 2020 parade to the entrance

of Truax Field; and, I personally responded to the F-16 noise survey during COVID Summer and

Fall 2020. I have participated in the 2022 campaign sending postcards to Senator Tammy

Baldwin lamenting her support for the F-35 fighter jets.

9.     Safe Skies educates me on the impacts of current activities at Truax Field and those

anticipated due to the arrival of the proposed F-35A fighter jets. This organization provides

opportunities for members to contact their elected representatives and participate in public

demonstrations.

10.    I read the Safe Skies website periodically for updates.

11.    I engage in actions Safe Skies promotes such as exhibiting yard signs opposing the basing

of the F-35A fighter jets at Truax Field.

12.    I give direct input to the Board by participating in meetings and talking with board

members including Vicki Berenson, Tom Boswell, Brad Geyer, Lance Green and Steven Klafka.

13.    I have a limited income so have not contributed financially to Safe Skies, but have

provided time and expenses to help the organization.

14.    My home at 2809 Commercial Avenue is located on the flight path of training flights for

the current F-16 fighter jets and proposed F-35A fighter jets. My home is approximately 0.5 mile

from the end of the main runway of the Dane County Regional Airport used by the fighter jets.




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15.      In my home, I cannot escape the noise of the F-16 fighter jets and I am directly impacted

by it.

16.      The noise from the F-16 jets harms me by alarming me and making me feel tense,

disrupting and stopping conversations with my neighbors and clients I care for, shaking my

home, and interfering with daily acts of life such as listening to music or sleeping.

17.      I will be harmed by the actions planned in the Environmental Impact Statement because

the Project will result in F-35A fighter jets.

18.      I will suffer great harm from the proposed F-35A fighter jets because I understand they

are four times louder and will fly more frequently than the F-16s.

19.      The proposed F-35A jets will shake my home, and increase the disruption of the life of

me, my neighbors and the people for whom I provide midwife services even more than the F-16s

do.

20.      I read the draft Environmental Impact Statement and submitted several comments and

questions to the National Guard Bureau to voice my concerns about the impacts of the proposed

squadron of F-35A fighter jets on me, my neighbors, my clients, and our community.

21.      Figure WI3.1-3 of the EIS shows the noise contours around the Dane County Regional

Airport after the arrival of the F-35A fighter jets. My home is located south of the main runway

of the county airport. This figure shows the predicted noise impact at my home will be within the

65 dB DNL noise contour. (Exhibit 1.)

22.      I am worried about the children and young people who could be developmentally and

environmentally impacted. As a midwife I am fully aware of the impact of air and water

pollution on pregnant women, their fetuses and children they give birth to.




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23.       The Court can redress my injuries by finding the EIS is inadequate and by requiring the

NGB to prepare a Supplemental Environmental Impact Statement with a thorough study of the

noise levels of the F-35As.

24.       Besides noise from fighter jet training, I am very concerned about the health effects and

environmental damage due to contamination of the groundwater, surface water, drinking water

and soils, caused by the use of fire-fighting foams and other materials on the county airport and

Air National Guard base.

25.       I am concerned about the per- and polyfluoroalkyl substances (“PFAS”) released from

the airport and base and known to be polluting municipal wells, particularly in my neighborhood

and low-income neighborhoods near the airport, as well as the groundwater, soils, Starkweather

Creek and Lake Monona, and the entire Yahara chain of lakes.

26.       I drank from Municipal Well # 15 for years until the City of Madison shut it down in

2019 due to high levels of PFAS in it.

27.       Before Municipal Well #15 was shut down in 2019, myself, my neighbors, and the

people for whom I provide midwife services were exposed to high levels of PFAS in the water

provided by this well to our homes.

28.       Now I still drink from the City water system. My water comes from mainly from Well

No. 11.

29.       Well No. 11 is the next closest downstream well from Well 15.

30.       I will be harmed by the construction projects listed in the EIS because the Air Force has

not done a study of the groundwater leaving Truax field and increased levels of PFAS from the

F-35A operations will get into wells.




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31.    The Court can redress my injuries by finding the EIS inadequate and by requiring the Air

Force to prepare a Supplemental Environmental Impact Statement which would thoroughly

document the extent of PFAS contamination leaving the base and contaminating our soil and

water before the Air Force is allowed to bring in new jets.

32.    I did not see the two notices in the print edition of the Wisconsin State Journal on August

25 and September 8, 2019.

33.    There were no notices in public places I frequent such as neighborhood restaurants, local

community centers, grocery stores, and outdoor park bulletin boards.

34.    I could not get to the public hearing the Air Force held on September 12, 2019, because

1) I did not know about it; and 2) it was held at the Alliant Center which is more than 8 miles

from my house.

35.    In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

       Executed this 6th day of December, 2022, in Madison, Wisconsin.



                                             /s/ Tehmina Islam
                                                Tehmina Islam




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